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AO 239 (Rev. 01/15) Application to Proceed in District Court Without Prepaying Fees or Cost~ (Long Fonn)


                                        UNITED STATES DISTRICT Co
                                                                      for tlle
                                                                                                              RT                  - ~·:7
                                                            Southern District of California                           \ AUG o~_zo~
                                                                                                                    CLERK. U.S. DISTRICT COURT
                          Robert Emert                                        )                                SOUTHERN D~       ICT OF C
                                                                                                                                        . AUFORNIA
                                                                                                                                           _DEPUTY
                         Plai111iff/Petitio11er                               )                                BY~-          --             -
San Diego Board of Supervisors.-County of San Diego, in their                 )        Civil Action No. 24CV0671 JO MSB
official capacity, ODA Dawn Balerio and DAI Luis Pena
                                                                              )
                       Defe11da11r/Respo11de11t                               )

        APPLICATIO~ TO PROCEED IN DISTRICT COURT WITHOt:"T PREPAYING FEES OR COSTS
                                        (Long Form)


 Affidavit in Support of the Applirntion                                     Instructions

 I am a plaintiff or petitioner in this case and declare                     Complete all questions in this application and then sign it.
 that I am unable to pay tlle costs of these proceedings                     Do not leave any blanks: if the answer to a question is "O.''
 and that I am entitled to the relief requested. I declare                   "none." or "not applicable (NIA).'' write that response. If
 under penalty of pe1jmy that the information below is                       you need more space to answer a question or to explain your
 true and understand that a false statement may result in                    answer. attach a separate sheet of paper identified with your
 a dismissal of my claims.                                                   name, your case's docket number. and the question number.

 Signed:                                                                     Date:       08/05/24


1.        For both you and your spouse estimate the average amount of money received from each of the following
          sources during the past 12 months. Adjust any amount that was received weekly. biweekly. quarterly.
          semiannually, or ammally to show the monthly rate. Use gross amounts. that is. amounts before any deductions
          for taxes or othe1wise.
                      Income source                                     Average monthly income                      Income amount expected
                                                                        amount during the past 12                         next month
                                                                                months
                                                                          You            Spouse                        You             Soouse
Employment
                                                                   $               0.00 $                  0.00 $            0.00 $             0.00
Self-employment
                                                                   $               0.00 $                  0.00 $            0.00 $             0.00
Income from real property (such as rental income)
                                                                   $               0.00 $                  0.00 $            0.00 $             0.00
Interest and dividends
                                                                   $               0.00 $                  0.00 $            0.00 $             0.00
Gifts
                                                                   $               0.00 $                  0.00 $            0.00 $             0 .00
Alimony
                                                                   $               0 .00 $                 0.00 $            0.00 $             0.00
Child support
                                                                   $               0.00 $                  0.00 $            0.00 $             0.00
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Retirement (such as social security, pensions, annuities,
                                                                   $                0.00 $                  0.00 $        0.00 $            0.00
insurance)
Disability (such as social security, insurance payments)
                                                                   $                0.00 $                  0.00 $        0.00 $            0.00
Unemployment payments
                                                                   $                0.00 $                  0.00 $        0.00 $            0.00
Public-assistance (such as welfare)
                                                                   $                0.00 $                  0.00 $        0.00 $            0.00
                                                                                                                               ,
Other (specify):
                                                                   $                0.00 $                  0.00 $        0.00 $            0.00

                                                                   $                0.00 $                  0.00 $        0.00 $            0.00
                                  Total monthly income:

2.        List your employment history for the past two years, most recent employer first. (Gross monthly pay is before taxes or
          other deductions.)

Employer                             Address                                                        Dates of employment              Gross
                                                                                                                                   monthly pay
N/A                                   N/A                                                   N/A                                 $           0.00

N/A                                   N/A                                                   NIA                                 $           0.00

3.        List your spouse's employment history for the past two years, most recent employer first. (Gross monthly pay is before
          taxes or other deductions.)

Employer                             Address                                                        Dates of employment              Gross
                                                                                                                                   monthlv oav
N/A                                   N/A                                                    N/A                                $           0.00

N/A                                   N/A                                                    N/A                                $           0.00

N/A                                   N/A                                                    N/A                                $           0.00

4.        How much cash do you and your spouse have?$                                    0.00

          Below, state any money you or your spouse have in bank accounts or in any other financial institution.
Financial institution                           Type of account                                     Amount you have            Amount your
                                                                                                                                spouse has
N/A                                              N/A                                       $                          0.00 $                0.00

N/A                                              N/A                                       $                          0.00 $                0.00

N/A                                              N/A                                       $                          0.00 $                0.00


If you are a prisoner, you must attach a statement certified by the appropriate institutional officer showing all receipts,
expenditures, and balances during the last six months in your institutional accounts. If you have multiple accounts,
perhaps because you have been in multiple institutions, attach one certified statement of each account.
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5.        List the assets, and their values, which you own or your spouse owns. Do not list clothing and ordinary
          household furnishings.

                                                      Assets owned by you or your spouse

Home ( Value)                                                                                                  $                           0.00
Other real estate (Value)
                                                                                                               $                           0.00

Motor vehicle # 1 (Value)                                                                                      $                      2,500.00

                  Make and year: 2004 HONDA ACCORD

                  Model:                ACCORD

                  Registration #: JHMCM56824C036075

Motor vehicle #2 (Value)                                                                                       $                           0.00

                  Make and year: NIA

                  Model:                NIA

                  Registration#: NIA

Other assets ( Value)                                                                                          $                           0.00

Other assets (Value)                                                                                           $                           0.00

6.        State every person, business, or organization owing you or your spouse money, and the amount owed.
Person owing you or your spouse                            Amount owed to you                               Amount owed to your spouse
monev
0                                               $                                            0.00 $                                        0.00

0                                               $                                            0.00 $                                        0.00

0                                               $                                            0.00 $                                        0.00

7.        State the persons who rely on you or your spouse for support.
Name (or, if under 18, initials only)                                         Relationship                                       Age

BE                                                                            SON                                                17

SE                                                                            DAUGHTER                                           15
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8.        Estimate the average monthly expenses of you and your fami ly. Show separately the amounts paid by your
          spouse. Adjust any payments that are made weekly, biweekly, quarterly, semiannually, or annually to show the
          monthly rate.

                                                                                                               You             Your spouse

Rent or home-mortgage payment (includi11g lot rented for mobile home)
        Are real estate taxes included? 0 Yes 0 No                                                         $         0.00 $              0.00
        Is property insurance included? 0 Yes 0 No
Utilities (electricity, heati11g fuel, water, sewer, and telephone)                                        $         0.00 $              0.00

Home maintenance (repairs and upkeep)                                                                      $         0.00 $              0.00

Food                                                                                                       $         0.00 $              0.00

C lothing                                                                                                  $         0.00 $              0.00

Laundry and dry-cleaning                                                                                   $         0.00 $              0.00

Medical and dental expenses                                                                                $         0.00 $              0.00

Transportation (not including motor vehicle paymems)                                                       $         0.00 $              0.00

Recreation, entertainment, newspapers, magazines, etc.                                                     $         0.00 $              0.00

Insurance (not deducted from wages or included in mortgage payments)

          Homeowner's or renter's: N/A                                                                     $         0.00 $              0.00

          Life:                              NA/                                                           $         0 .00 $             0.00

          Health:                            N/A                                                           $         0.00 $              0.00

          Motor vehicle:                     N/A                                                           $         0.00 $              0 .00

          Other:                            N/A                                                            $         0.00 $              0.00
Taxes (not deducted from wages or i11c/11ded in mortgage payments) (specify):
                                                                                                           $         0.00 $              0.00

Installment payments

          Motor vehicle:                     N/A                                                           $         0.00 $              0.00

          Credit card (name):                N/A                                                           $         0.00 $              0.00

           Department store (name):          N/A                                                           $         0.00 $              0 .00

          Other:                             N/A                                                           $         0.00 $              0.00

Alimony, maintenance, and support paid to others                                                           $         0.00 $              0.00
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Regular expenses for operation of business. profession, or fann (attach detailed
statement)
                                                                                                            $   0.00 S        0.00

Other (specify):     N/A                                                                                    $   0.00 $        0.00

                                                                                                            $   0.00 S        0.00
                                                                       Total monthly expmses:

9.        Do you expect any major changes to your monthly income or expenses or in your assets or liabilities during the
          next 12 months?
           D Yes                          If yes. describe on an attached sheet.

10.       Have you spent - or will you be spending - any money for expenses or attorney fees in conjunction with this
          lawsuit? J Yes ~No
          If yes. how much? $ _ _ _ _o_
                                      .o_o_ ___
11 .       Provide any other infonnation that will help explain why you cannot pay the costs of these proceedings.
             Per my doctors letter that I have included with this fee waiver, I can't work due to medical issues and I have
             zero savings or assets other than my non operational vehicle. Due to my disabilities, I live at my parents
             home. I don't have any income and my parents simply cover basic living. I am on MediCal and SNAP. I am
             over 60k in debt which will be declared under bankruptcy shortly.

12.       Identify the city and state of your legal residence.
             2351 VISTA LAGO TERRACE ESCONDIDO CA 92029


           Your daytime phone number:                              (760) 612-9328

           Your age: - -55-             Your years of schooling:                     16
                          Certificate for Return to School/Work




05/08/2024

Robert Emert was under my care.



Limitations/Remarks: Pt is unable to work at this time due to multiple chronic illneses and in
specific due to history of PTSD, Major depression, and chronic heart condition. Pt is undergoing care
and when he can go back to work is undetermined at this time.



Provider Name: Angelica Acosta

NHC El Cajon TELHT
855 E Madison Ave


Phone: 833-867-4642



Clinic Representative Name:
Electronically Signed By: Jessica B
Dear Honorable Court,

I am writing this motion to supplement my fee waiver form to proceed in forma pauperis. In
another related lawsuit, the court had some questions so I am including this for
clarification. If requested, I am prepared to provide medical documents and bills to the
court to document the truth of my statements. PLEASE FILE THIS UNDER SEAL BECAUSE
MY X WIFE SHOWS OUR KIDS THIS STUFF TO TRY TO MAKE ME LOOK LIKE A DEAD
BEAT DAD WHICH I AM NOT.

The court made the following requests:

   1. Alleging poverty with particularity, definiteness, and certainty:

In my updated fee waiver application, I have provided detailed information about my
financial situation, including the medical conditions (heart attack, atrial fibrillation, severe
hypertension, severe PTSD) that prevent me from working and earning an income.

   2. Explaining my living situation:

I want to clarify that I am relying on the charity of my family to cover my basic living
expenses, such as food . Without their support, I would have died and that is not an
exaggeration. I would be homeless without their support to cover my basic essential
needs.

   3. Addressing the inconsistency regarding my car ownership and lack of income and
      expenses:

My car is non-operational and has not been registered for about three years or more, and
thus does not contribute to my monthly expenses. In my updated fee waiver application, I
have provided an estimate of my expenses, which are being covered by my family due to
my health issues.

Additionally, I want to inform the court that I am approximately $50,000 in debt, which
accrued after my heart attack, and I plan to file for bankruptcy soon. This information
further supports my claim of being unable to pay the filing fees.

I am currently on MediCal and SNAP which I think by itself would qualify me for a fee
waiver.

Thank you for your time and consideration. Again, if the court wants documentation such
as medical records documenting the cardiac issue, hypertension; cardiac arrythmia's,
PTSD or my debts; MediCal or SNAP information, I will provide promptly.

Sincerely,

h6cmAAL-
 08/05/24
